

ORDER

PER CURIAM:
AND NOW, this 24th day of September, 2001, David Assad, Jr., having been disbarred by consent from the practice of law in the State of New Jersey by the Corrected Order of the Supreme Court of New Jersey dated May 11, 2001; the said David Assad, Jr., having been directed on July 23, 2001, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Common*108wealth would be unwarranted and the reasons therefor; and upon consideration of the response filed, it is
ORDERED that David Assad, Jr., is disbarred on consent from the practice of law in this Commonwealth, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
